            Case 2:20-cv-01582-WSS Document 53 Filed 04/26/24 Page 1 of 6




                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF PENNSYLVANIA

   MADISON M. LARA, SOPHIA KNEPLEY,                        }
   LOGAN D. MILLER, SECOND AMENDMENT                       }   No. 2:20-cv-01582-WSS
   FOUNDATION, INC. and FIREARMS POLICY                    }
   COALITION,                                              }   Judge Stickman
                                                           }
                                 Plaintiff,                }
                                                           }
                  vs.                                      }
                                                           }
   COL. ROBERT EVANCHICK,                                  }
   Commissioner of Pennsylvania State Police,              }
                                                           }   Electronically Filed.
                                 Defendant.                }

EMERGENCY MOTION TO ALTER OR AMEND JUDGMENT UNDER Fed. R.Civ. P. 59(e), OR
 IN THE ALTERNATIVE A MOTION FOR RECONSIDERATION UNDER Fed. R.Civ. P. 60(b)

          AND NOW, comes the defendant, Col. Robert Evanchick (“the Commissioner”), by his

   attorneys, Scott A. Bradley, Senior Deputy Attorney General, and Nicole R. DiTomo, Chief

   Deputy Attorney General, Chief, Litigation Section, and hereby moves to alter or amend the

   judgment under Fed. R.Civ. P. 59(e) or, in the alternative, move for reconsideration under Fed.

   R.Civ. P. 60(b) with respect to the Order of Court [ECF 51] recently entered by the Court, saying

   as follows:

          1. The complaint in this case raised three counts: (1) that statutory restrictions on

   Plaintiffs’ open-carry rights during declared emergencies violate the rights of 18-to-20-year-olds

   under the Second Amendment, see 18 Pa.C.S. § 6107; (2) that statutory restrictions on carrying

   and transporting firearms violate the rights of 18-to-20-year-olds under the Second Amendment,

   see 18 Pa.C.S. § 6106; and (3) that the statutory requirement that an individual be at least 21

   years of age to obtain a concealed-carry permit violates the rights of 18-to-20-year-olds under the

   Second Amendment, see 18 Pa.C.S. § 6109. See Complaint [ECF 1]. The Commissioner of the
            Case 2:20-cv-01582-WSS Document 53 Filed 04/26/24 Page 2 of 6




State Police is the sole defendant named in the complaint, and is sued in his official capacity

only. Id.

       2. On April 16, 2021, this Court issued an Opinion [ECF 39] and Order [ECF 40]

dismissing the Complaint with prejudice and denying Plaintiffs’ Motion for Preliminary

Injunction as moot. By separate order also issued on April 16, 2021, the Court entered Judgment

in favor of the Defendant and against Plaintiffs pursuant to Federal Rule of Civil Procedure 58.

See Order [ECF 41].

       3. In reversing that order, the Third Circuit Court of Appeals did not order this court to

enter judgment in Plaintiffs’ favor on all of their claims. Rather, the Third Circuit’s mandate was

narrower and more specific. That Court “remand[ed] with instructions to enter an injunction

forbidding the Commissioner from arresting law-abiding 18-to-20-year-olds who openly

carry firearms during a state of emergency declared by the Commonwealth.” Lara v.

Commissioner Pennsylvania State Police, 91 F.4th 122, 140 (3d Cir. 2024) (emphasis added).

This paragraph reflects the extent of the relief obtained by Plaintiffs in this matter; a direction

that law-abiding 18-to-20-year-olds who openly carry firearms during a state of emergency

declared by the Commonwealth not be arrested by members of the Pennsylvania State Police.

       4.     The Third Circuit did not instruct this court to enter any orders enjoining the

enforcement of the age restrictions on concealed-carry licenses.

       5. Nevertheless, in its April 24, 2024 Order [ECF 51], this Court went beyond the Circuit

Court’s mandate by enjoining the Commissioner, his employees, and non-parties “who have

notice of the injunction” from “enforcing their laws, policies, and practices that prevent

Plaintiffs, and those similarly situated between the ages of 18 and 20 years old, who are not

disqualified from exercising their Second Amendment rights and wish to acquire license under



                                                2
         Case 2:20-cv-01582-WSS Document 53 Filed 04/26/24 Page 3 of 6




18 Pa.C.S. § 6109, from applying for and being issued such a license.” Order of Court [ECF 51],

at 1.

        6. Respectfully, this Order exceeds the scope and intent of the Third Circuit’s mandate

and this Court’s jurisdiction.

        7. It is axiomatic that “an inferior court has no power or authority to deviate from the

mandate issues by an appellate court.” United States v. Kennedy, 682 F.3d 244, 252 (3d Cir.

2012) (holding that district court exceeded the scope of the Third Circuit’s mandate, which

remanded for resentencing only) (citations omitted).        Therefore, “on remand for further

proceedings after decision by an appellate court, the trial court must proceed in accordance with

the mandate and the law of the case as established on appeal.” Bankers Tr. Co. v. Bethlehem

Steel Corp., 761 F.2d 943, 949 (3d Cir. 1985).

        8. It is equally well-established that, as a matter of due process, “no court can make a

decree which will bind anyone but a party; a court of equity is as much so limited as a court of

law; it cannot lawfully enjoin the world at large, no matter how broadly it words its decree.”

Alemite Mfg. Corp. v. Staff, 42 F.2d 832, 832-33 (2d Cir. 1930).

        9. As the High Court explained in Zenith Radio Corp. v. Hazeltine Research, Inc., 395

U.S. 100, 110 (1969), “[i]t is elementary that one is not bound by a judgment in personam

resulting from litigation in which he is not designated as a party or to which he has not been

made a party by service of process. The consistent constitutional rule has been that a court has

no power to adjudicate a personal claim or obligation unless it has jurisdiction over the person of

the defendant.” (internal citations omitted). See also Regal Knitwear Co. v. NLRB, 324 U.S. 9,

13 (1945) (courts may not grant an injunction “so broad as to make punishable the conduct of

persons who act independently and whose rights have not been adjudged according to law”). Put



                                                 3
          Case 2:20-cv-01582-WSS Document 53 Filed 04/26/24 Page 4 of 6




simply, entering an injunction against a non-party “is forbidden[.]”        Additive Controls &

Measurement Systems, Inc. v. Flowdata, Inc., 96 F.3d 1390, 1395 (Fed. Cir. 1996).

       10. A Rule 59(e) motion to amend judgment is permissible on any of the following

grounds: “(1) an intervening change in the controlling law; (2) the availability of new evidence

that was not available when the court [issued the challenged decision]; or (3) the need to correct

a clear error of law or fact or to prevent manifest injustice.” Blystone v. Horn, 664 F.3d 397, 414

(3d Cir. 2011) (internal quotation marks omitted); Fed. R.Civ. P. 50(e).

       11. Respectfully, this Court misinterpreted the Third Circuit’s order as requiring the

enjoining of Pennsylvania law restricting 18-to-20-year olds from obtaining a concealed carry

permit. That is not what the Circuit Court ordered. The Third Circuit’s order is limited to

“forbidding the Commissioner from arresting law-abiding 18-to-20-year-olds who openly carry

firearms during a state of emergency declared by the Commonwealth.” Lara, 91 F.4th at 140.

The inclusion of an injunction beyond what the Third Circuit mandated constitutes clear error of

law, as it goes beyond the clear language of the Third Circuit’s order. See Kennedy, 682 F.3d at

252.

       12. Additionally, by entering an injunction attempting to bind non-parties (anyone “who

have notice of the injunction”), this Court exceeded the scope of its jurisdiction. This also

constitutes clear error of law. See Zenith Radio Corp., 395 U.S. at 110.

       13. Alternatively, a Rule 60(b) motion for reconsideration may be used when there is

mistake or inadvertence. Fed. R.Civ. P. 60. As discussed above, this Court, respectfully, made a

mistake in enjoining conduct not covered by the Third Circuit’s mandate and attempting to

enjoin the behavior by non-parties who had no opportunity to present arguments in this case or

defend their interests.



                                                4
         Case 2:20-cv-01582-WSS Document 53 Filed 04/26/24 Page 5 of 6




       14.    The Third Circuit’s decision not to order that 18-to-20-year-olds may obtain

concealed-carry licenses was no accident. As the Commissioner has emphasized throughout

these proceedings, neither he nor the Pennsylvania State Police have the authority to issue or

grant concealed carry firearm licenses pursuant to Pennsylvania law. Rather, those permits are

issued by municipal sheriff offices, which are not—and never were—parties to this lawsuit. See

Lara, 91 F4th at 139 n.24 (“Only county sheriffs may grant concealed-carry licenses.”). In their

appellate reply brief, Plaintiffs acknowledged this, but stated that enjoining the Commissioner

from arresting 18-to-20-year-olds during emergencies was sufficient to remedy their injuries.

See Plaintiff’s 3d Cir. Reply Br. at 4 [3d Cir. ECF 38].

       15. Given this concession by Plaintiffs, the Third Circuit limited the scope of its ruling to

enjoining the Commissioner from arresting 18-to-20-year-olds for open carrying during

emergencies under 18 Pa.C.S. § 6107. See Lara, 91 F.4th at 139, 140. The Third Circuit held

that this was all that was necessary to redress Plaintiffs’ constitutional injury. Id.

       16. Yet, the order recently entered by this Court grants wider relief than permitted by the

Third Circuit’s opinion. This, respectfully, was a mistake.

       17. It was clear error and/or a mistake for this Court to exceed the scope of the Third

Circuit’s mandate and to enjoin individuals or entities not a party to this action.

       18. Accordingly, the Court should amend its order to reflect the precise relief directed by

the Third Circuit or, in the alternative, reconsider its order and issue an order consistent with the

direction provided by the Third Circuit.

       19. This Court’s judgment should mirror the language of the Third Circuit and only

enjoin the Commissioner and his officers, agents, and employees from arresting law-abiding 18-




                                                   5
           Case 2:20-cv-01582-WSS Document 53 Filed 04/26/24 Page 6 of 6




to-20-year-olds who openly carry firearms during a state of emergency declared by the

Commonwealth.

       20. The Commissioner respectfully requests that this Court expedite its consideration of

this motion, and move expeditiously to amend its order so as to avoid further confusion about the

availability of concealed-carry-licenses for 18-to-20-year-olds. See, e.g., “Pa. Sheriff Association

Issues Guidance to Sheriffs Regarding LTCF Applications of 18-20 Year Olds,” 04/25/24,

https://blog.princelaw.com/2024/04/25/pa-sheriff-association-issues-guidance-to-sheriffs-

regarding-ltcf-applications-of-18-20-year-olds/.

       WHEREFORE, the Commissioner respectfully requests that the present Motion be

granted.

                                                   Respectfully submitted,

                                                   MICHELLE A. HENRY
                                                   Attorney General


                                                      s/ Scott A. Bradley
Office of Attorney General                         Scott A. Bradley
Litigation Section                                 Senior Deputy Attorney General
1521 Waterfront Place                              Attorney I.D. No. 44627
Mezzanine Level
Pittsburgh, PA 15222                               Nicole R. DiTomo
                                                   Chief Deputy Attorney General
Phone: (412) 565-3586
Fax: (412) 565-3019

Date: April 26, 2024




                                                   6
